Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 1 of 10 PageID 862




                                 UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION

     IN RE: Seroquel Products Liability
     Litigation
                                                             Case No. 6:06-md-1769-Orl-22DAB

     _____________________________________/

                                   REPORT AND RECOMMENDATION

     TO THE UNITED STATES DISTRICT COURT

            This cause came on for consideration with oral argument on various matters including the

     following motions filed herein:

               MOTION:         MDL PLAINTIFFS AND DEFENDANTS’ JOINT
                               MOTION REQUESTING THE COURT TO ADOPT AND
                               ENTER PROPOSED CASE MANAGEMENT ORDERS
                               (Doc. No. 110)

               FILED:      December 20, 2006
               _____________________________________________________________

               THEREON it is RECOMMENDED that the motion be GRANTED in part
               and DENIED in part and MODIFIED as set forth herein.
               MOTION:         MDL PLAINTIFFS AND DEFENDANTS’ JOINT
                               MOTION FOR STATUS CONFERENCE, AND/OR ORAL
                               ARGUMENT [FOR ONE HOUR] (Doc. No. 111)

               FILED:      December 20, 2006
               _____________________________________________________________

               THEREON it is RECOMMENDED that a ruling on the motion be deferred
               to the District Judge for consideration in connection with review of this Report
               and Recommendation.

            In this multi-district litigation, Plaintiffs have sued Defendants for claims arising for alleged

     injuries from ingesting AstraZeneca’s Seroquel, an atypical antipsychotic medication that allegedly
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 2 of 10 PageID 863




     can cause diabetes and related disorders. Doc. No. 1. On July 10, 2006, the original litigation

     consisted of 114 actions pending in six districts across the United States. Doc. No. 1. Many other

     Conditional Transfer Orders have transferred cases since the Initial Transfer Order. See Doc. Nos.

     2, 3, 13, 21, 22, 25, 33, 34, 36, 40, 43, 46, 47, 57, 65, 78, 90. Many more are expected to be

     transferred to this Court.

     Severance

              The Court held a status conference on December 11, 2006. At that time, Defendants made a

     presentation that based on their research, there were 7,297 plaintiffs in Seroquel cases pending

     throughout the United States, with 6,561 plaintiffs (or 94% of the total plaintiffs) represented by one

     firm, Bailey Perrin Bailey, with cases filed in Massachusetts. The claims of the 6,561 plaintiffs in the

     Massachusetts cases are consolidated into approximately 106 cases and the 6,561 plaintiffs are from

     forty-seven of the fifty United States.

              Following Defendants’ description of the status of the national cases filed, and without any

     correction from Camp Bailey, Esq. (nominated to serve as Co-Lead Counsel from the firm of Bailey

     Perrin Bailey), the Court raised the issue sua sponte1 of whether Plaintiffs in the 100 or so cases with

     6,500 plaintiffs had been improperly joined and should be severed pursuant to Federal Rule of Civil

     Procedure 21. Mr. Bailey, at the hearing, could not satisfactorily articulate the “same transaction or

     occurrence” required to support permissive joinder under Rule 20(a), but explained that these

     plaintiffs were bundled in the cases to ease the multi-district aspect of the cases anticipated once the

     multi-district litigation had been established.


              1
               In response to the Court’s query, Defendants indicated that they were planning to file a motion seeking severance.
     However, in the interest of moving the matter forward, the Court addresses the issue sua sponte. Plaintiffs by responding to
     this Report and Recommendation will have an appropriate opportunity to make their views known.

                                                                 -2-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 3 of 10 PageID 864




            At least one appellate court has affirmed the appropriateness of the district court’s use of a

     case management tool requiring the filing of severed claims, rendering dismissals with prejudice for

     those plaintiffs who fail to timely file severed complaints.

            [I]n the context of multi-district litigation . . . while the rules are the same as for
            ordinary litigation on an ordinary docket – that is, . . . the district court must weigh the
            public’s interest in expeditious resolution of litigation; the court’s need to manage its
            docket; the risk of prejudice to the defendants; the public policy favoring the
            disposition of cases on their merits; and the availability of less drastic sanctions-
            multidistrict litigation is different because of the large number of cases that must be
            coordinated, its greater complexity, and the court’s statutory charge to promote the just
            and efficient conduct of the actions. 28 U.S.C. § 1407. As a result, the considerations
            that inform the exercise of discretion in multidistrict litigation may be somewhat
            different, and may tip the balance somewhat differently, from ordinary litigation on
            an ordinary docket.

            ***
            The goal of the multidistrict litigation process is to “promote the just and efficient
            conduct” of “civil actions involving one or more common questions of fact” that are
            pending in different districts. 28 U.S.C. § 1407(a). If realized, hundreds or-as here,
            thousands-of cases, coordinated, will proceed toward resolution on the merits with less
            burden and expense overall than were each litigated through pretrial individually.

            Section 1407 arose out of the federal courts’ experience with a massive prosecution
            of electrical equipment manufacturers for antitrust violations, which had been rendered
            manageable only by conducting joint pretrial proceedings. . . . Congress saw a need
            to create a mandatory version of that procedure to govern cases such as “civil antitrust
            actions . . . , common disaster (air crash) actions, patent and trademark suits, products
            liability actions and securities law violation actions, among [and] created the Judicial
            Panel on Multidistrict Litigation and conferred on the Panel the power to consolidate
            pretrial proceedings for such cases and to assign them to a single judge who would
            coordinate them.

            It was thought that consolidation and central coordination would avoid these dangers
            and would yield significant benefits of economy and speed. . . . Transfer proceedings
            may be commenced either on the Panel's own initiative . . . or by motion of any party.
            A transfer is effective when the order of transfer is “filed in the office of the clerk of
            the district court of the transferee district.” When the transfer becomes effective, “the
            jurisdiction of the transferor court ceases and the transferee court has exclusive
            jurisdiction.” A transferee judge exercises all the powers of a district judge in the
            transferee district under the Federal Rules of Civil Procedure and “may make any

                                                        -3-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 4 of 10 PageID 865




          pretrial order that the transferor court might have made in the absence of a transfer.”
          This includes authority to decide all pretrial motions, including dispositive motions
          such as motions to dismiss, motions for summary judgment, motions for involuntary
          dismissal under Rule 41(b), motions to strike an affirmative defense, and motions for
          judgment pursuant to a settlement. . . . Once pretrial proceedings are completed in the
          MDL, the Panel remands individual cases to the district court in which the action was
          originally filed for trial. . .

          A district judge charged with the responsibility of “just and efficient conduct” of the
          multiplicity of actions in an MDL proceeding must have discretion to manage them
          that is commensurate with the task. The task is enormous, for the court must figure out
          a way to move thousands of cases toward resolution on the merits while at the same
          time respecting their individuality. The court is also confronted with substantial legal
          questions, such as, [in the drug case on appeal], FDA issues, Daubert motions,
          questions of joinder and federal jurisdiction, class certification, timeliness of claims,
          and causation. For it all to work, multidistrict litigation assumes cooperation by
          counsel and macro-, rather than micro-, judicial management because otherwise, it
          would be an impossible task for a single district judge to accomplish. Coordination
          of so many parties and claims requires that a district court be given broad discretion
          to structure a procedural framework for moving the cases as a whole as well as
          individually, more so than in an action involving only a few parties and a handful of
          claims. As the Court of Appeals for the First Circuit put it, a district court must be
          able to “uncomplicate matters” and counsel must, for their part, “collaborate with the
          trial judge from the outset in fashioning workable programmatic procedures, and
          thereafter alert the court in a timely manner as operating experience points up
          infirmities warranting further judicial attention.”

          Pretrial plans will necessarily vary with the circumstances of the particular MDL.
          However, the district judge must establish schedules with firm cutoff dates if the
          coordinated cases are to move in a diligent fashion toward resolution by motion,
          settlement, or trial. As happened in MDL 1407, the multidistrict process contemplates
          involvement of representative counsel in formulating workable plans. Once
          established in consultation with counsel, time limits and other requirements must be
          met and, “when necessary, appropriate sanctions are imposed . . . for derelictions and
          dilatory tactics.” Manual For Complex Litigation § 10.13 at 13.” Close judicial
          oversight and a clear, specific, and reasonable management program, developed with
          the participation of counsel, will reduce the potential for sanctionable conduct because
          the parties will know what the judge expects of them. . . . Although sanctions should
          not generally be a management tool, a willingness to resort to sanctions, sua sponte
          if necessary, may ensure compliance with the management program.” Id. at § 10.151
          at 15.

          In sum, multidistrict litigation is a special breed of complex litigation where the whole

                                                    -4-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 5 of 10 PageID 866




              is bigger than the sum of its parts. The district court needs to have broad discretion to
              administer the proceeding as a whole, which necessarily includes keeping the parts in
              line. Case management orders are the engine that drives disposition on the merits.

     In re Phenylpropanolamine (PPA) Products Liability Litigation, 460 F.3d 1217, 1222 &1229-32 (9th

     Cir. Aug. 29, 2006) (internal citations and quotations omitted) (holding that the district court did not

     abuse its discretion in dismissing cases for failure to timely file severed cases between five and twelve

     weeks late).

              Permissive joinder is governed by Federal Rules of Civil Procedure 20 and 21, which provide

     that multiple plaintiffs may “assert any right to relief jointly, severally, or in the alternative in respect

     of or arising out of the same transaction, occurrence, or series of transactions or occurrences and if

     any question of law or fact common to all these persons will arise in the action.” Fed. R. Civ. P 20(a).

     Because these multiple plaintiff cases do not appear to seek relief arising from the same transaction

     or occurrence, severance of the individual plaintiffs is proper. Pursuant to Rule 21, the court may

     sever any claim against a party, which will proceed separately. Fed. R. Civ. P. 21.

              It is respectfully RECOMMENDED that all of the plaintiffs’ claims (except for consortium

     claims) be severed. If this Report and Recommendation is adopted, the Clerk should be directed to

     open new separate files2 for each named plaintiff (with the consortium exception noted above).

     Concurrent with the service of each Plaintiff Fact Sheet [PFS] (as set forth below), a new individual

     complaint for that Plaintiff should be filed in the corresponding case docket along with payment of

     the required filing fee (or application to proceed in forma pauperis). Cases abandoned or dismissed

     prior to service of the PFS would not be required to comply. Any cases transferred to this Court after


               2
                 The precise mechanics and timing for this task may require further specification to reduce the work burden on the
     Clerk of the Court.

                                                                 -5-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 6 of 10 PageID 867




     entry of any Order regarding severance would be subject to this requirement. The disaggregated

     cases, though filed here, would retain their status as transfer cases, subject to remand upon completion

     of the multidistrict proceedings.

     Other Case Management Issues

              After protracted argument concerning many discovery and scheduling issues that the parties

     had not resolved among themselves prior to the December 11, 2006 status conference, and following

     a strenuous admonishment by the Court, counsel were ordered to meet and confer at length until the

     issues were more fully resolved. Doc. No. 102. The status conference was recessed until the

     following morning at 11:00 a.m. on December 12, 2006. Doc. No. 104. Counsel were able to agree

     to several discovery compromises, now memorialized in the two Proposed Case Management Orders

     filed on December 20, 2006.3 As the Court told counsel at the December 12 status conference, the

     undersigned is flabbergasted as to how unprepared the parties are and the case appears to be in worse

     condition than at the September 2006 Preliminary Pretrial Conference. While counsel appears to have

     approached negotiating discovery in a more professional manner, they have not set deadlines that as

     a practical matter, will move this litigation at the pace at which both the undersigned and Judge

     Conway have repeatedly stated the litigation must proceed to keep the pretrial proceedings on track.

              Having said that, the parties filed a proposed case management order that describe (in CMO

     No. 1): responsibilities of lead and liaison counsel; the frequency of status conferences; service of

     complaints and amendments; filing of motions; and service of documents. Doc. No. 110-2. The

     second proposed case management order (CMO No. 2) proposes deadlines for service of Plaintiff Fact



              3
                Although the Court ordered counsel to file their proposals by 12:00 p.m. on December 20, given the proximity of
     the Christmas holiday, counsel did not file the documents until 4:48 p.m.

                                                                -6-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 7 of 10 PageID 868




     Sheets, to the effect that at least 500 be filed by January 31, 2007 or stipulated to dismissal, with 500

     more per month filed each month thereafter; all PFS from plaintiffs whose cases were filed before

     September 11, 2006 be served by September 30, 2007; all PFS from plaintiffs whose cases are

     docketed in the MDL before March 31, 2007 be served by December 31, 2007; and all PFS from

     plaintiffs whose cases are docketed in the MDL after March 31, 2007 be served within 90 days after

     docketing; and sets forth notification and cure procedures for absent or deficient PFS. Doc. No. 110-

     3. CMO No. 2 also sets forth deadlines for AstraZeneca’s production of organizational charts for its

     corporate structure, the Seroquel team, and the drug safety team for the past ten years; listings of

     (eighty) custodians from whom it is collecting documents; listing of databases concerning document

     production and preservation; timing for interviews of knowledgeable AstraZeneca IT persons; and

     withdrawal of all currently pending discovery to AstraZeneca. Doc. No. 110-3. The parties also set

     forth the format of the production of custodial files, agreements on the preservation of documents,

     notably with the parties agreed language regarding “spoliation” of evidence. Doc. No. 110-3.

            The Court is satisfied with neither the pace nor the mechanics of the parties’ proposal,

     especially with respect to the PFSs. The specific format and content of the agreed PFS has been

     known since October 2006, and counsel have known since prior to the original filing of these actions

     that such information would be required from each plaintiff. Particularly in recognition of the

     difficulties that many of the plaintiffs face in assembling the required information, the lack of

     anticipation and preparation for the plaintiffs to meet the requirements is inexplicable and

     disappointing. Likewise, the failure of the Defendant to investigate and understand its own records

     and documents and to prepare them for production has not met the expectations of the Court as

     discussed at the September 2006 Conference.

                                                       -7-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 8 of 10 PageID 869




            With those observations as background, the Court turns to the specifics of the proposed CMOs

     (Doc. Nos. 110-2 and 110-3). In general proposed CMO 1 appears helpful in moving the cases

     forward, subject to the following observations. In ¶ II.A.3. the words “or magistrate” should be

     deleted as superfluous. Objections by non lead counsel should be filed within five days. All matters

     presented to the Court must comply with the Local Rules, especially Local Rule 3.01(g). ¶ II.A.4.

     requires additional explanation from Plaintiffs as to what is contemplated.

            In ¶ IV.4. the parties should be aware that the Court may rule on motions without hearing.

     Motions may be filed up to 20 days prior to the hearing, and responses should be filed within 11 days

     of service of the motion. Replies are not permitted absent leave of Court.

            In ¶ V.A. counsel wishing to be removed from the electronic service list should simply notify

     the Clerk.

            With respect to proposed CMO 2, the Court does not find that the suggested schedule will

     permit timely consideration of the cases, and their proposal is unclear how cases would be identified

     for dismissal if plaintiffs fail to meet the schedule. It appears that the Bailey law firm has by far the

     greatest number of plaintiffs and the greatest problem with timely completion of the PFSs. For other

     plaintiffs’ counsel no showing has been made of inability to get the required information served more

     quickly. As to the Bailey firm clients, the Court remains unpersuaded that good cause exists for

     stringing out production to September and December 2007. It is recommended that the schedule

     proposed be modified to provide that, for cases now pending here, the Bailey clients serve completed

     PFSs and associated documents (or notices of dismissal) as follows: one-sixth by January 31, 2007

     and one-sixth more by the end of each succeeding month ending June 30, 2007. For the non Bailey

     plaintiffs, one -third would be due January 31 and so on each month until March 31, 2007. By

                                                       -8-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 9 of 10 PageID 870




     January 31, 2007, plaintiffs’ counsel would be required to serve a designation of the month each

     client’s completed form is due. For plaintiffs whose cases arrive after entry of any scheduling order,

     PFSs would be due within 45 days after docketing in this Court. Plaintiffs who do not meet the

     designated deadlines would be subject to possible sanctions, including dismissal of the cases

     following the procedure outlined in the proposed order.

             Plaintiffs’ counsel are admonished not to delay production of PFSs during the pendency of the

     motions and while awaiting the District Judge’s disposition of this Report. Whatever schedule is

     finally imposed will not include any additional period to cover the time these matters are under

     consideration.

             The balance of proposed CMO 2 regarding production and preservation of Defendant’s

     documents still seems unduly cumbersome. Nonetheless, if the parties are confident that their

     agreement will allow them to present issues to the Court for appropriate consideration and disposition

     without delays engendered by claims of non production of information, the proposal can be approved.

             Notably, the parties did not address the previously discussed issue of bellwether cases, and

     the Court assumes that there is lingering disagreement about the need for and mechanics of using such

     cases. As noted at the December 2006 hearing, the grounds argued by Defendant, for the most part,

     would not benefit from consideration in individual cases. It is recommended that the parties be

     required to state in writing their respective positions on these issues prior to any future hearing in the

     case.

             At the December 2006 hearing, the Court indicated that the next conference would be January

     25, 2007 before the undersigned. In light of the parties request at Doc. No. 111, that conference is




                                                        -9-
Case 6:06-md-01769-ACC-DAB Document 113 Filed 12/22/06 Page 10 of 10 PageID 871




     cancelled (subject to reinstatement) pending the District Judge’s decision whether to schedule her

     own hearing. The discovery motions (Doc. Nos. 92 and 100) are DENIED as moot.

            Failure to file written objections to the proposed findings and recommendations contained in

     this report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking

     the factual findings on appeal.

            Recommended in Orlando, Florida on December 22, 2006.


                                                                    David A. Baker
                                                                   DAVID A. BAKER
                                                             UNITED STATES MAGISTRATE JUDGE
     Copies furnished to:

     Presiding District Judge
     Counsel of Record




                                                      -10-
